                             Boca Ciega Yacht Club - Board Meeting
                                   7 January 2019 @ 7:32 pm
                                            Agenda
                    Reminder: Please turn down all cell phones during the meeting.
 Roll Call (Secretary)
      Present: Nick Southard, Sheri Ogorek, Don Rogers, Jenn Buckley, John McLeod, Beth Berkobein,
      Richard Walters, Picot Floyd, Nancy Bennett, Doug Fuller, Patty Tishuk, Nancy May-Hatch, Becky
      Gilmore, Tony Angel, Ruth Peterson

     Absent: Larry Brown
 Approval of the Minutes
     Approval of minutes of previous meeting: The           Motion made by Picot Flpyd
     December 4, 2018 Board Meeting minutes has             Seconded by John McLeod
     been distributed in advance for your review.           Yeas = 14 Nays = 0 Abstains = 0
                                                            Motion Passed
      Attachment: Board Meeting Minutes for
      December 4, 2018
 Visitors
      Are there any Visitors? If so, please identify        List of Visitors: No visitors.
      yourself and your reason for visiting.
 Membership Chair
      Present new prospective members:                      Allan Fenley & Barbara Busenbark
                                                            Gulfport, FL
                                                            Boat: R-31’ Ranger Tug
      Harold & Trish Small
                                                            Name: Little Prince
      St. Petersburg, FL
      Boat: 30’ MaineCat
                                                            Andrew Tanger & Elizabeth Flynn
      Name: Tranquility
                                                            Seffner, FL
                                                            Boat: 32’ O’Day
      James & Valerie Turley
                                                            Name: Salty Spirits
      St. Petersburg, FL
      Boat: 26’ Leisurecat
                                                            Paul & Jennie Lachance
                                                            St. Petersburg, FL
      Derik (Terry) & Suzanne Stansell
                                                            34’ Catalina
      St. Petersburg, FL
                                                            Name: Mach 1 Too
      Boat: None
 Flag Officers’ Reports
  1   Commodore - Nick Southard
      Welcome to the 54th year of BCYC January board meeting: Thank you for a great turn out for our
      installation banquet it was great seeing all of you and the rest of the other 98 members.

      Tonight, being our first board meeting we have quite a lot of protocol motions to discuss this evening.
      In order to keep our board meetings productive and moving swiftly, I would like to discuss some of our
      board meeting procedures;


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                                                                                   PMSJ EXHIBIT 5
      We will have a great year with the lineup of officers, directors, and chairs we have who stepped up to
      keep this great club running smoothly. Ray has been a huge help in making my transition into the
      "AssT" position as non-painful as possible. I will produce a Deposit report for our dues when they are
      made. The two attached are the first reports of the year for Q1. Going to Chase to deposit them
      today. I have sent emails out to a few members who didn't update the dues amount from their bank
      but all is going smoothly and people are making the necessary changes.
      We had one resignation from Philip Raia dated 12/31/18. Also, Mike Mogavero, and Glen & Louise
      Dobos have resigned.
      If you get a dinghy, or get rid or one, please remember to let me know so that I can adjust your
      membership level. I'm not sure what the process is for discontinuing membership in WA so I will
      contact Jimmy/Ray. We probably need to document these processes if not already done so we can
      have smooth transitions for new officers.
      I met with Nick this morning and will be updating the Installation Banquet Play Book. We will have a
      great time and I'm honored to have been asked to MC again. Still the pay sucks but the party will be
      great. I drink Bourbon for anyone who doesn't know that by now.
  7   Secretary – Jenn Buckley
      The goal is to provide an agenda 3-days prior to each meeting this year. So, as a reminder for the
      Board and all Committee Chairs: Please send me your reports (or “no reports”) by the Friday before the
      Board meeting or the Tuesday before a General Meeting so I can include them in the Agenda. For the
      minutes, please provide me your written report no later than the meeting itself for inclusion in the
      minutes. This includes any motions that you plan to introduce. Reminder emails will go out. Thank you!
  8   Immediate Past Commodore - Larry Brown                  No report (he’s in Vegas!)
 Standing Committee Reports
  1   Activities - Gary Rhoads                                No report
  2   Audit - Steve Conn
      The next meeting of the Audit Committee will be Thursday, 31 January, at 7 pm in the clubhouse.
  3   Blessing of the Fleet - Guy O’Connor                No report
  4   Boat Show - (Russell Matter)                            No report
  5   Capital Budget - Doug Fuller                            (See attached 2019 Budget from Dec Meeting)
  6   Merchants Chamber - Diane Benedetti                     No report
  7   Chaplain - Joye Swisher
      I am honored to be asked to be chaplain this year. I understand my responsibilities as stated in the
      directory. I will offer a listening ear for emotional and grief support when requested as appropriate. I
      will continue to send get well and sympathy cards as I learn of the member’s needs. Understanding
      not everyone likes to be open about illnesses or grief issues, I will share the information with the club at
      large when given the permission to do so. Otherwise, I will send a card signed by "Your BCYC family"
      instead of passing a card around.
  8   Christmas Boat Parade – Samantha & Kim
      We had 23 boats plus one that called in and asked if they could just crash the parade for a total of 24
      boats! We cannot say thank you enough for all the help that was given to us. It was amazing to see
      everyone pull together and make the parade flow smoothly on all sides.
      We are humbled by all the help given by so many- there were so please do not be upset if we leave off
      your name - First- Jonathan Cornwell, You made this parade!!! Larry Brown, Nick Southard, Keating

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      Floyd- thank for help with prizes! James Masson, you are the best fleet captain- a calming energy at all
      times. Patty Tishuk, You are the registration and Prize package queen!!! Don Rogers for helping run
      the Captain’s meeting! Renee Best, the Gecko Queen (John Ziegler), and Ray Lastra for the hard work
      as judges! Captain Sandbar (Richard Walters), Guy O’Conner, and Karen Wacker- for the live
      entertainment. Robert Westerfield & Nate Whitfield for helping with signs! Brandon Dillard (official
      Santa representing Gulfport PD), Sergeant Burkhart, Francine Whitten & Cynthia Hayes (Operation
      Santa). Elloise Ullman, who just came by to find out about the club and membership and stayed and
      help cook and clean all night without knowing a soul here- amazing... let’s make sure to thank her in
      person when she finally joins the club. Asa Folsom. Lezlee Kramer, Russ Matter, Melissa McCue, Gerri
      Angel, Suzy Floyd, Picot Floyd, Gary Gertis, Mary Simpson, Mike Cook, Debbie Roberto, Ellen
      Alexander, Meg Banitch, Bethany Keough, Mary Crawford, John McLeod, Susan McQuillan, Carol and
      Marty Southard, and everyone else - again - so many people helped to make this possible - Thank you
      so much!
      The winners:
           #1 Mirage - Sea Scout Ship #915
           # 2 Sandy Claws- Scott Hanson
           #3 Dangler- Steve Wallace
           #4 Connected to Water - Stefan Kaschkadayev & Wendy Shelton
           #5 Annie B - Marty & Carol Southard
           #6 Seahawk- Richard Walters
           #7 Ocean Hiatus- Mark Robinson
           #8 Ding Dong- Steve Clinton
           #9 Aquasition- Nick & Betty Southard
           #10 Bella Vita- Gary Gertis
      Again- thank you to everyone, Kim & Samantha
  9   Cruising - Susan McQuillan
      We’re going to Terra Ceia! January 12th, Captain’s meeting is at 9am. Bring a snack to share, and your
      drink of choice.
 10   Financial & Investment - Doug Fuller                  No report
 11   Fun Day (Open House) - Lee Nell                       No report
 12   Historian - Richard Walters                           No report
 13   Landscaping/Grounds - Linda Maloy                     No report
 14   Membership - Gerri Angel                              Report (see above)
 15   Merchandise - Patty Tishuk
      Due to no December General meeting, no deposit was made. I have three orders en-route that will be
      here by the January general meeting. New aprons, lightweight jackets, women’s sport tec shirts and a
      new shipment of caps. The club donated a burgee and license plate to the new porch. I’d like to donate
      an apron to the club.
 16   Nominating - Tom Buckley (as read by Jimmy Meyer)
      This year’s nominating committee has been formed and the members are: Jimmy Meyer, Juli Jacoby
      Nancy Hatch, Roger Gilmore, and Tom Buckley as chair.
 17   PR & Advertising - Jonathan Cornwell              No report


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      Motion to approve a new Standing Committee –             Motion made by John McLeod
      the Fish & Grab Committee                                Seconded by Richard Walters
                                                               Yeas = 14 Nays = 0 Abstains = 0
                                                               Motion Passed
      Discussion: This committee is to promote fishing
  3   and “grabbing” (shellfish: shrimp, clamming,
      scalloping) as a series of ongoing activities for the
      club. This will include learning how to fish, shrimp,
      clam, scallop, cook it up and tell tall stories. Marty
      Southard to be the chair of this committee.
  4   Motion to approve the following individuals as           Motion made by Sheri Ogorek
      Committee Chairs:                                        Seconded by Richard Walters
           Activities - Gary Rhoads
                                                               Yeas = 14 Nays = 0 Abstains = 0
           Audit - Steve Conn                                  Motion Passed
           Blessing of the Fleet - Guy O’Connor
           Boat Show - Russell Matter
           Capital Budget - Doug Fuller
           Merchants Chamber - Diane Benedetti
           Chaplain - Joye Swisher
           Christmas Boat Parade – Jenn Buckley
           Cruising - Susan McQuillan
           Financial & Investment - Doug Fuller
           Fun Day (Open House) - Lee Nell
           Historian - Richard Walters
           Landscaping/Grounds - Linda Maloy
           Membership - Gerri Angel
           Merchandise - Patty Tishuk
           Nominating - Tom Buckley
           PR & Advertising - Jonathan Cornwell
           Racing - Garth Reynolds
           Raft Up - Becky Gilmore
           Refreshments - Betty Southard
           Rhumb Runners – Paula Dube
           Sail School - John Meyer
           Sea Scouts - Tony Angel
           Security - Don Rogers
           Small Boats - Mark Rother
           Waterway Watch - Dan Chesnut
           Website - OPEN
           WindWord - Jen Rogers
           Youth Sailing - Joel Heyne
           Paddle Sports - Ann New & Becky Gilmore
           Fish & Grab - Marty Southard
  5   Motion to approve the Nominating Committee               Motion made by Sheri Ogorek
      consisting of:                                           Seconded by Nancy Bennett
                                                               Yeas = 14 Nays = 0 Abstains = 0
              Chair – Tom Buckley; Jimmy Meyer; Juli
                                                               Motion Passed
              Jacoby; Nancy May-Hatch; Roger Gilmore
  6   Motion to approve a webmaster from the bids              Motion made by Sheri Ogorek
      submitted and my recommendation is Jenn                  Seconded by Nancy May Hatch
      Buckley.                                                 Yeas = 13 Nays = 0 Abstains = 1 (Jenn
                                                               Buckley)
                                                               Motion Passed
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      Email sent out to members to submit an RFP if
      they were interested. We received 2 RFPs in the
      time allotted (end of December) and we evaluated
      these bids. The two bids were received from Jenn
      Buckley and Gerard Gaudry.
      Recommendation is based upon the skill set,
      previous knowledge of our systems and how they
      work, and completeness of the response.
      Keating was not considered because he did not
      submit an RFP until after the deadline (1/7/2018).
      Attachment: Gerard Gaudry RFP for
      Webmaster.pdf
      Attachment: Jenn Buckley RFP for
      Webmaster.pdf
  7   Motion to approve hiring a paid bookkeeper to     TABLED until next meeting
      replace the role of the Assistant Treasurer.
  8   Update on Letter of Reprimand – Sent to Samantha Ring for bringing her dog into the clubhouse.

         Nick – Has a meeting with the city tomorrow and has asked Lee Nell re: letter they received. More
          to come on this. Also, will be meeting with an attorney later this week. At that point, I will call a
          special meeting of the board to discuss the proceedings. Please DO NOT discuss this matter until
          this special meeting.

      Attachment: Samantha Reprimand.pdf
      Attachment: RPeterson_Piper.pdf (for documentation purposes)
  9   Motion to move the September 2, 2019 Board            Motion made by Jenn Buckley
      meeting (Labor Day) to Tuesday, September 3,          Seconded by Nany May Hatch
      2019.                                                 Yeas = 14 Nays = 0 Abstains = 0
                                                            Motion Passed
 10   Motion for Picot to sponsor Chris Krietlein to use    Motion made by Picot Floyd
      the club to deliver his course on Celestial           Seconded by John McLeod
      Navigation to be held February 22 & 23rd.             Yeas = 14 Nays = 0 Abstains = 0
                                                            Motion Passed
 11   Awarding of Best Covered Dish of the Year – John & Katie Meyer.
      John claims that all he did was pay for the beverages during the planning and gave all the praise to
      Beth Berkobein & Katie Meyer for their idea and hard work.
 For the Good of the Club
         About extra vessels in the Dinghy Racks – what is the limit to this? Can people store a kayak on
          top of their dinghy? Or should they pay for another rack/space? Do we want other things in the
          dingy racks? Like kayaks? Or do we build something else to store them? We need to discuss this
          more thoroughly. In the past when you paid for a dinghy, you paid for 1 dinghy. If you had two, you
          paid for 2.
         Articles in the WindWord – Jen is asking for more articles on fun stuff that is of interest to the club:
          sailing, boating, etc. Also, she is going to change how we show new members in the Windword.
          She is going to remove the personal info (address, phone, etc.) and maybe their interests instead.
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         Tony passed out legal summary of “Reasonable accommodate” for service animals and emotional
          support animals. Please read and educate yourselves on this. This is not for conversation but for
          education for future decision making.
         January Potluck – Sponsored by the Officers & Board. Sheri & Jenn will organize this. Board: look
          for an email with the menu & ask for help & sides.
         Parliamentary procedure report by Dan. Explained the principle of “Unanimous Approval”.
         Reminder: Motions can only be made under Old or New business
         Richard issued a plea for everyone to attend the January General Meeting on January 18th. He
          wants to pass the BCYC Standards at that time. This is now holding up the directories!
 Motion to Adjourn
      Meeting ended on January 7th, 2019 at 9:02 pm.

      Respectfully submitted, Jennifer Buckley, 2019 Secretary
                     Next Board Meeting: February 4, 2019 at 7:30 pm




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                                                      BOCA CIEGA YACHT CLUB
                                                             2018 / 2019 Budget Comparison



                                                                                                                       Proposed
                                            2018 Actual          2018 Budget         Over Budget      % of Budget     2019 Budget     Budget Change
Income
 4999 Uncategorized Income              $            1.07                        $            1.07
 602 Dry Slip Rental                    $          32.28                         $          32.28
 603 Dinghy Rack Rental                 $        2,265.00    $      2,000.00     $         265.00           113.25%   $ 2,000.00             0.00%
 604 Dues Income                                 97,433.70   $    100,000.00     $       (2,566.30)          97.43%   $ 110,200.00          10.20%
 605 Initiation Fees                              6,255.00   $      7,000.00     $         (745.00)          89.36%   $   9,250.00          32.14%
 606 Late Fees                          $         527.80     $       1,000.00    $         (472.20)          52.78%   $     500.00         ‐50.00%
 608 Sail School                        $       10,370.00    $     11,000.00     $         (630.00)          94.27%   $ 12,500.00           13.64%
 6095 Sales Taxes Paid Incl in Sales             -7,702.42   $      (8,300.00)   $         597.58            92.80%   $ (10,448.00)         25.88%
 610 Activities Income
   615 Installation Banquet Income                6,185.00   $      3,600.00     $        2,585.00          171.81%   $   4,000.00          11.11%
   617 Raftup
     6172 Raft-Up Dinner                $        1,659.02    $      2,000.00     $         (340.98)          82.95%   $   2,000.00           0.00%
   Total 617 Raftup                     $        1,659.02    $      2,000.00     $         (340.98)          82.95%   $   2,000.00           0.00%
   618 Racing                                      -138.86
     6182 Women's Challenge Regatta     $         405.00     $        400.00     $            5.00          101.25%   $     400.00           0.00%
   Total 618 Racing                     $         266.14     $        400.00     $         (133.86)          66.54%   $     400.00           0.00%
   6198 Bait & Tackle Unregatta                              $      1,000.00     $       (1,000.00)           0.00%   $   1,000.00           0.00%
   6199 One Design Regatta              $        1,995.00    $      1,450.00     $         545.00           137.59%   $   1,450.00           0.00%
 Total 610 Activities Income            $       10,105.16    $      8,450.00     $        1,655.16          119.59%   $   8,850.00           4.73%
 633 Merchandise Sales                  $        4,173.00    $      3,500.00     $         673.00           119.23%   $   4,700.00          34.29%
 662 Directory Income                   $          50.00                         $          50.00
 664 Windword Income                              1,645.00   $      3,500.00     $       (1,855.00)          47.00%   $   3,500.00           0.00%
 671 Security Deposit Income                                 $        700.00     $         (700.00)           0.00%   $   1,250.00          78.57%
 699 Non-Tax Income                                                              $              -
   6991 Contributions                             1,020.00                       $        1,020.00
 Total 699 Non-Tax Income               $        1,020.00    $             -     $        1,020.00
 Services                               $         300.00                         $         300.00
Total Income                            $      126,475.59    $    128,850.00     $       (2,374.41)          98.16%   $ 142,302.00          10.44%
Gross Profit                            $      126,475.59    $    128,850.00     $       (2,374.41)          98.16%   $ 142,302.00

Expenses
 800 Board Approved
   8001 Board Approved Capital Budget             1,200.00                       $        1,200.00
   8002 Board Approved Other Items                1,575.00   $      9,300.00     $       (7,725.00)          16.94%
 Total 800 Board Approved               $        2,775.00    $      9,300.00     $       (6,525.00)          29.84%
 801 Slip Rental Expense                $        2,329.84    $             -     $        2,329.84
 808 Sailing School Expense             $        2,100.40    $      3,500.00     $       (1,399.60)          60.01%   $   3,500.00           0.00%
 809 Youth Sailing                      $         116.00     $        200.00     $          (84.00)          58.00%   $     250.00          25.00%
 810 Activities
   8100 Boat Parade Expense             $         560.66     $        750.00     $         (189.34)          74.75%   $     750.00           0.00%
   811 Covered Dish Expense                       2,456.74   $      3,000.00     $         (543.26)          81.89%   $   3,000.00           0.00%
   8111 Thanksgiving Dinner                                                                                           $     300.00            new
   8112 New Year's Expense              $         447.86     $        200.00     $         247.86           223.93%   $     450.00         125.00%
   8113 Officers Dinner for Members     $         522.22     $        300.00     $         222.22           174.07%   $     300.00           0.00%
   812 Entertainment                                         $        500.00     $         (500.00)           0.00%   $   1,000.00         100.00%
   8120 Cruise Expense                                       $        150.00     $         (150.00)           0.00%   $     500.00         233.33%
   8122 4th of July                                          $        200.00     $         (200.00)           0.00%   $     300.00          50.00%
   814 General Meeting Expense          $         311.62     $        250.00     $          61.62           124.65%   $     330.00          32.00%
   815 Installation Banquet Exp.
     8151 Next Year                               1,597.05   $      2,000.00     $         (402.95)          79.85%   $   6,000.00         200.00%
     8152 This Year                               5,609.74   $      5,000.00     $         609.74           112.19%   $   2,000.00         ‐60.00%
 Total 815 Installation Banquet Exp.       $    7,206.79    $    7,000.00   $     206.79     102.95%   $ 8,000.00       14.29%
 8161 Oktoberfest                                                                                      $    300.00        new
 8165 Rhumb Runners Expense                $     297.98     $      500.00   $    (202.02)    59.60%    $    750.00      50.00%
 817 Raft-Up Expense                       $    2,305.52    $    2,000.00   $     305.52     115.28%   $ 2,000.00        0.00%
 818 Racing Expense                                790.10   $    1,500.00   $    (709.90)    52.67%    $ 1,500.00        0.00%
   8182 Women's Challenge Regatta                2,157.29   $    1,500.00   $     657.29     143.82%   $ 2,000.00       33.33%
 Total 818 Racing Expense                  $    2,947.39    $    3,000.00   $      (52.61)    98.25%   $ 3,500.00       16.67%
 8198 Bait & Tackle Unregatta                               $    1,000.00   $   (1,000.00)    0.00%    $ 1,000.00        0.00%
 8199 One Design Regatta                   $    1,037.71    $    1,500.00   $    (462.29)    69.18%    $ 1,600.00        6.67%
Total 810 Activities                       $   18,094.49    $   20,350.00   $   (2,255.51)    88.92%   $ 24,080.00      18.33%
820 Club Boats Expense                                                                                 $ 1,772.00         new
 821 Day Sailers                           $    2,218.03    $    2,000.00   $     218.03     110.90%   $ 3,000.00       50.00%
 822 Club Power Boat                       $    1,786.77    $    1,500.00   $     286.77     119.12%   $ 2,000.00       33.33%
 825 Prams Expense                                          $      150.00   $    (150.00)     0.00%    $    500.00     233.33%
 826 Sunfish Expense                       $     460.26     $    1,500.00   $   (1,039.74)   30.68%    $ 2,000.00       33.33%
 827 420s Expense                          $    2,690.58    $    2,000.00   $     690.58     134.53%   $ 2,000.00        0.00%
Total 820 Club Boats Expense               $    7,155.64    $    7,150.00   $       5.64     100.08%   $ 11,272.00      57.65%
830 Supplies
 831 Galley Supplies                             3,569.93   $    3,500.00   $      69.93     102.00%   $   4,000.00     14.29%
 832 Ice Expense                                            $      500.00   $    (500.00)     0.00%    $     500.00      0.00%
 833 Merchandise Purchase                        3,261.85   $    1,600.00   $   1,661.85     203.87%   $   3,000.00     87.50%
 834 Office Supplies                               242.09   $      750.00   $    (507.91)    32.28%    $     750.00      0.00%
Total 830 Supplies                         $    7,073.87    $    6,350.00   $     723.87     111.40%   $   8,250.00     29.92%
840 Facilities Maintenance Expense
 841 Building                                   12,527.17   $    3,500.00   $   9,027.17     357.92%   $ 6,000.00       71.43%
 842 Docks/Dinghy Racks                    $     618.69     $      750.00   $    (131.31)    82.49%    $    750.00      3,569.93
 8425 Hoist                                $     340.00     $      250.00   $      90.00     136.00%   $    500.00     100.00%
 843 Grounds, Mowing                             2,551.47   $    2,500.00   $      51.47     102.06%   $ 2,800.00       12.00%
 8435 Grounds, Beautification              $    1,141.33    $      700.00   $     441.33     163.05%   $ 1,000.00       42.86%
 844 Workday Expense                       $     654.49     $    1,500.00   $    (845.51)    43.63%    $ 1,500.00        0.00%
 846 Janitorial                            $    2,597.90    $    3,000.00   $    (402.10)    86.60%    $ 3,200.00        6.67%
 847 Bldg & Grounds Security               $     581.81     $    1,000.00   $    (418.19)    58.18%    $ 1,500.00       50.00%
 848 Pest Control                          $     892.57     $      500.00   $     392.57     178.51%   $    600.00      20.00%
 849 Flag Pole                                                                                         $    500.00        new
Total 840 Facilities Maintenance Expense   $   21,905.43    $   13,700.00   $   8,205.43     159.89%   $ 18,350.00      33.94%
850 Professional
 851 Accounting Services                   $    1,257.19    $    1,500.00   $    (242.81)    83.81%    $ 6,000.00      300.00%
 852 Bank Charge                           $    1,102.05    $    3,000.00   $   (1,897.95)   36.74%    $ 2,250.00      ‐25.00%
 853 Insurance Expense                     $   17,549.66    $   17,500.00   $      49.66     100.28%   $ 18,000.00       2.86%
 854 Legal Expense                                          $    7,500.00   $   (7,500.00)    0.00%    $ 5,000.00      ‐33.33%
 855 Storage Unit                          $     642.12     $      600.00   $      42.12     107.02%   $    700.00      16.67%
 858 PayPal Fees                                 2,920.52   $      400.00   $   2,520.52     730.13%   $ 2,250.00      462.50%
 859 Organization Dues                     $     225.00     $      750.00   $    (525.00)    30.00%    $    500.00     ‐33.33%
Total 850 Professional                     $   23,696.54    $   31,250.00   $   (7,553.46)    75.83%   $ 34,700.00      11.04%
860 Communications & PR                                                     $          -
 861 Chamber of Commerce Dues                               $     100.00    $    (100.00)     0.00%    $    100.00       0.00%
 8615 Contributions                        $    2,682.76                    $   2,682.76               $ 1,000.00         new
 862 Directory Expense                     $    1,136.88    $    1,200.00   $      (63.12)   94.74%    $ 1,400.00       16.67%
 864 Windword                                    6,950.12   $    7,500.00   $    (549.88)    92.67%    $ 8,000.00        6.67%
 865 Public Relations                      $    1,793.36    $    2,000.00   $    (206.64)    89.67%    $ 2,000.00        0.00%
 866 Membership                            $     500.00     $      250.00   $     250.00     200.00%   $    600.00     140.00%
 867 Open House Expense                    $    1,811.25    $    2,000.00   $    (188.75)    90.56%    $ 2,200.00       10.00%
 868 Sympathy                              $      60.06     $      300.00   $    (239.94)    20.02%    $    300.00       0.00%
 869 WebSite                               $     855.00     $      500.00   $     355.00     171.00%   $ 6,000.00     1100.00%
Total 860 Communications & PR              $   15,789.43    $   13,850.00   $   1,939.43     114.00%   $ 21,600.00      55.96%
880 Taxes-Licenses
 881 Federal Income Tax                    $     765.00     $    7,500.00   $   (6,735.00)   10.20%    $   2,000.00    ‐73.33%
 882 Real Property Tax                     $    1,251.24    $    1,300.00   $      (48.76)   96.25%    $   1,300.00      0.00%
 883 Tangible Property Tax                 $     257.20     $      500.00   $    (242.80)    51.44%    $     500.00      0.00%
   885 Corporate License    $          61.25     $       100.00    $          (38.75)    61.25%    $     100.00     0.00%
   886 License Tags         $          78.01     $       200.00    $         (121.99)    39.01%    $     200.00     0.00%
 Total 880 Taxes-Licenses   $       2,412.70     $     9,600.00    $       (7,187.30)     25.13%   $   4,100.00   ‐57.29%
 890 Utilities                                                     $                -
   891 Electric             $       4,894.88     $     4,200.00    $          694.88     116.54%   $ 5,500.00     30.95%
   892 Cable TV                       1,668.69   $     2,000.00    $         (331.31)    83.43%    $ 2,100.00      5.00%
   894 Gas                  $          99.51     $       500.00    $         (400.49)    19.90%    $    600.00    20.00%
   895 Water & Garbage      $       7,399.06     $     6,900.00    $          499.06     107.23%   $ 8,000.00     15.94%
 Total 890 Utilities        $      14,062.14     $    13,600.00    $          462.14     103.40%   $ 16,200.00    19.12%
 899 Misc. Expense          $         361.29                       $          361.29
Total Expenses              $      117,558.72    $   128,850.00    $      (11,291.28)     91.24%   $ 142,302.00   10.44%
Net Operating Income        $        8,916.87    $            -    $        8,916.87
Other Income
 7010 Interest Income       $           7.90                       $              7.90
 7030 Other Income          $         200.00                       $          200.00
Total Other Income          $         207.90     $            -    $          207.90
Net Other Income            $         207.90     $            -    $          207.90
Net Income                  $       9,124.77     $            -    $        9,124.77




                            Friday, Dec 14, 2018 01:04:40 PM GMT-8 - Cash Basis
Webmaster job description:

Security and compliance
Perform a comprehensive audit of current and future code to identify High-risk vulnerabilities and Low-risk vulnerabilities
Inventory use of open source software, update to the latest version and verify current status of unaddressed issues
Audit hosting company regularly:
OS system is latest recommended version
Proper back up procedures exist and implemented
Database software is up to date, sensitive information encrypted
Identify all applicable compliance requirements (PCI, data protection...)
As personally identifiable data is being stored, insure privacy policy and terms of use are available and meet
requirements.

Performance
Troubleshoot issues and develop solutions
Identify broken links and make necessary corrections
Monitor site up time and identify reasons for downtime.
Use analytic tools and statistics to monitor traffic
Develop and implement a Search Engine Optimization strategy
Continuous user experience improvement
Implement intuitive and responsive modern designs
Insure website is compatible with all major browsers
Insure website can be accessed from all platforms ( PC, tablet, smart phone...)
Provide training and support to internal users
Collect data from internal and first time users to identify opportunity for improvements

Administration
Insure proper registration of all domain names
Maintain all certificates current

Further Enhancements
Develop social media strategies to increase website exposure
Consider adding sponsors advertisement



Here is a demo of common features found in a modern website:
https://comesailwithceilidh.jsp-servlet.net

I would like a compensation in the $20-25/hour.
(if needed I can provide a copy of my latest resume)

If interested in my proposal, I'd like the opportunity to review the current agreement with Wild Apricot as their pricing
appears to be way out of line with current hosting practices.

Thanks,
Gerard
                                     Corp‐to‐Corp Agreement

Parties: Corporation-to-Corporation Agreement made between Boca Ciega Yacht Club, and its affiliated
entities (collectively "BCYC"), located at 4600 Tifton Drive, Gulfport FL 33711, and J Buckley Consulting,
LLC, a Single-Member Limited Liability Company (hereafter “JBC, LLC”), EIN # xx-xxxxxxx, of XXXX
XXXXXXXXXXXX, Lutz, Hillsborough County, Florida 33558.

Services: Boca Ciega Yacht Club hereby employs JBC, LLC to perform work as a Website Administrator
as outlined in the Statement of Work.

Terms: This contract shall become effective on January __, 2019 and remain in effect until December 31,
2019 or until it is terminated by either party. JBC, LLC will be closed for business on the following
holidays: New Year’s Day, Memorial Day, Independence Day, July 14, Labor Day, Thanksgiving & day
after, Christmas Eve and Christmas Day, and New Year’s Eve. Additionally, limited service will be
available on the following dates: 2/5-8, 3/26-28, 5/16-23, 10/9-13, and 10/22-26. Additional closure dates
may be negotiated.

Termination: Either party may terminate this agreement without cause and without penalty by providing
the other party with 10 business day's written notice of intention to terminate this agreement.

Consideration: In consideration of the foregoing, Boca Ciega Yacht Club agrees to pay JBC, LLC the flat
amount of Four Hundred Dollars, ($400.00) USD, for work, for up to twenty (20) hours per month. JBC,
LLC will provide a monthly invoice to the Boca Ciega Yacht Club Accounts Payable department c/o the
Treasurer on the last business day of each month. Invoice date will reflect the date the invoice is
submitted for payment. Standard payment terms are net 15 days, that is, all payments are due 15 days
from the date of invoice or a $50 late fee will be added.

Travel: Ciega Yacht Club agrees to pay reasonable travel expenses incurred for the purpose of
conducting Boca Ciega Yacht Club business outside of Hillsborough or Pinellas Counties, Florida,
provided both parties agree and Boca Ciega Yacht Club provides pre-approval for expenditures in writing.

Insurance/Taxes: JBC, LLC understands and agrees that no payroll or employment taxes of any kind
shall be withheld or paid by Boca Ciega Yacht Club with respect to payment to JBC, LLC. The payroll and
employment taxes that are subject of this paragraph include, but are not limited to FICA, FUTA, federal
personal income tax, state personal income tax, state disability insurance tax (where applicable) and
state unemployment insurance tax. JBC, LLC shall submit a complete W-9 Form upon a signed
Agreement. JBC, LLC will carry a $2M General Liability Insurance policy(#XXXXXXXXXXXXX) and a $1M
Worker's Comp policy (#XXXXXXXXXXXX), carried by XXXXX, for the duration of this agreement.

Non-Exclusive Contractor Relationship: JBC, LLC is not an employee of Boca Ciega Yacht Club under
this Agreement. This Agreement will not be construed as a partnership or joint venture between the
parties and neither party will be liable for any obligations incurred by the other party, including but not
limited to any contract or agreement of employment. JBC, LLC acknowledges that it is not eligible for the
worker's compensation, any employee benefits or unemployment insurance benefits of Boca Ciega Yacht
Club by reason of JBC, LLC’s engagement under this Agreement. JBC, LLC agrees that it has the sole
right to control the work of its personnel upon receipt of a work assignment from Boca Ciega Yacht Club.
JBC, LLC maintains the right to perform services for other clients for the duration of this contract.

Confidentiality: It is understood and agreed to that Boca Ciega Yacht Club may disclose confidential
information or may provide certain information that is and must be kept confidential. To ensure the
protection of such information, and to preserve any confidentiality necessary under patent and/or trade
secret laws, it is agreed that JBC, LLC will not disclose confidential information obtained from Boca Ciega
Yacht Club to anyone unless required to do so by law. If applicable, JBC, LLC agrees to execute a
mutually agreed upon Confidentiality and Non-Disclosure Agreement with Boca Ciega Yacht Club.




Jenn Buckley RFP for Webmaster.docx             Page 1 of 5
                                                                               December 23, 2018




Dear Samantha Ring,



It was brought to our attention that you again took your dog into the clubhouse. You were upset
that you were talked down to by a fellow member while in the midst of breaking this rule only a
couple weeks ago. I wrote to you in email correspondence that although the fellow member
should not address you personally in such a way, that you are fully aware of the rule. Here you
are breaking the same rule yet again. This is a formal reprimand as stated in the bylaws as
proper procedure.

I no longer feel reminding you of the rule is going to dissuade you from taking your dog into the
clubhouse as you certainly haven’t stopped after the many times you’ve been reminded. After
discussing this with the board we believe a fine is next in line. To that end if you are caught with
Piper in the clubhouse again we are going to fine you $150.00.

You have tried to argue that the club is not private and I’ve responded that until a court has
stated that we are not a private club, that we do not agree with your assessment. You further
stated that you have spoken with a rights watch group and that they agree with your
assessment. You then stated that rather than having that organization fine the club, that you
would have them make their assertions to us directly but that it will be some time before we hear
from them. I accepted that we will discuss this with them if they contact us but until any of that
comes to fruition you know the rules and have to abide by them.

If you are caught with Piper in the club and are assessed a fine you will be responsible for
paying it and after that fine, if the rule is broken again we will increase the fine for further
transgressions. So for now, abide by the rule as you know you are supposed to and you will not
have to pay any such fine. If the day comes when we change the rule, for whatever reason, to
allow dogs into the club house you will no longer have to worry about any fines. Until then, you
need to abide by the rules.




Larry Brown
Commodore 2018
 "REASONABLE ACCOMODATION" FOR SERVICE ANll\~ALS
               AND EMOTIONAL SUPPORT ANIMALS


In the 1990 The Fair Housing Act disabled, and emotionally impaired people were
clearly granted the right to possess an animal that was needed to cope with their
physical or mental impairment. The Americans with Disabilities act of 1990 was
amended in 2008 with the Fair Housing Act and t he Air Carriers Act. The Florida
State Legislature subsequently passed legislatio n that parallels the federal law as
it pertains to individuals w ith physical or mental disabilities who req uire a service
animal or an emotional support anima l to cope with their disability. Any attempt
by a Communal Living Facility, a Public Transportation service, a publichousing
fa cility, or any facility of public accommodat ion, to refuse or intimidate a person
with physical impairment to enter w ith a t rained "Service Animal" is punishable as
a violation of their civil rights.

 In 2016 the federal courts cautioned all communal residential communities to
review their" Resident Selection Criteria", application process, and procedures to
ensure that they are following the current application of the Americans with
Disabilities Act. The interview process must not be interpreted to be discouraging
a disabled person from renting or purchasing a property in a complex even if the
complex has a no-pet rule.

SERVICE ANIMALS ARE DEFINED AS SPECIFICALLY TRAINED DOGS AND SMJ!.ll
HORSES ONLY:

Florida and Federal law protect the right to have service dogs or small horses in
public places, private housing, and the comm on areas of public accommodation
within private buildings. A "service animal" is a dog or small horse that has beer
trained to perform tasks for someone with a physical, mental, psychiatric, sensoI·•1
or intellectual disability. The work t he ani mal does must be directly related to th2
person's disability.



                                      Page 1 of 4
If an individual presents medical document ation that suppo rts their need for a
trained support animal the Board or management Company must make a
reasonable accommodation of any "house rules" t hat w ould preclude their
possession of the animal. Case law has established that no distinction can be
made between physical and mental disabilities.

The current fine for refusal to respect the need of a disabled person for the
services of a support animal is $50,000 per occu rrence.

Note: there is no federal or state standard for the utraining" that a service
animal must receive, and this problem has not been clarified in the court systern.
Under ADA, the definition of a public accommodation is very broad . Service
animals must be allowed to frequent public places and areas of public
accommodation within private businesses. It includes:

      •   Hotels and other lodging establishment s
      •   Public transportation terminals, depot s and stations
      •   Restaurants and other places that serve f ood and drink
      •   Sales or rental establishments
      •   Any place of public gathering, auditorium, theater, or stadium
      •   Places of entertainment and exhibit , and educat ional institutions
      •   Gyms, and other places of exercise or recreat ion or parks and zoos
      •   Libraries, museums, social service



Private clubs that do not rent space to the public or allow the public t o frequent
the facility are not considered a place of public accommodation. They may
establish reasonable, uniform rules for the control of all animals th at are brought
to the facility by the members.



                                               Page 2 of 4
RULES FOR SERVICE ANIMALS:

People with disabilities may not be charged to bring their "Service Animal" to any
public accommodation. The animal will t ravel without charge on airlines, trains,
and all public means of transportation.

According to federal law and the ADA. "the animal must be of a safe and gentle
breed".

A place of public accommodation is not required to allow a service animal to
remain" if it poses a threat to the health or safety of others". If the service
animal is growling or lunging at other patrons and the owner is una ble to stop the
aggressive behavior the dog may be required to leave or be secured with a
control device such as a leash, or muzzle.

An establishment may exclude a service animal that isn't housebroken, or is out
of control, or of the aggressive breeds of "Pit Bull" or 11 Rottweiler".

The state of Florida will prosecute a animal owner who falsifies information
about their disability or the status of their service or EST.

REQUESTS FOR REASONABLE ACCOMODATION OF RESTRICTIONS:

A "reasonable accommodation" is a change, exception or adjustment to a rule
that may be necessary for a person with a disability to have an equal opportunity
to use and enjoy a facility.

If a resident of a multi-unit housing facility, or a prospective unit owner, or a
member of an organization, requests an accommodation to a pet policy, the
Board of the building management or the organization, and/or Condominium
Association may request documentation from a medical doctor that supports a
need for a "service animal" or an "emotional support animal". The Board may
only ask broad questions regarding the disability and the expected remedial effect
of the animal. The Board must be cautious not to violate H.I.P.P.A. in their
questioning and they may not elicit detail and specific conversation regarding the
medical condition of the applicant.



                                                     Page 3 of 4
The physical or mental impairment of an individual requesting an accommodation
of rules must not be discussed in an open meeting and atl records regarding the
medical request for an accommodation must be stored in a secure and locked fi le
or safe.

Emotional Support Animals are those that are traditionally kept in a home for
pleasure rather than for a commercial purpose.

Under Florida law or ADA owners of public accommodations are not required t o
allow "Emotional Support Animals" within their faci lities. Emotional support
animals lack t he training of a "Support Animal". They are prescribed by a
physician, or psychologist to calm anxiety, mood disorders, or correct mental
depression. A comfort animal or ESA is a pet, prescribed by a medical
professional. A Service Animal is a registered dog trained to perform tasks for a
handicapped individual.

Emotional support animals are generally confined to "Common household pets".
This group includes domesticated dogs, cats, birds, rodents (to include ferrets and
rabbits) fish, turtles. It does not usually include reptiles except Turtles. Comf ort
animals t hat are repeatedly disru ptive can be excluded. Owners of ESA must
clean up after their animals.

Deposits t o protect from damage t o the property must not be for more than one
           1
(1) months rent but even t hat can be interpreted to be an attempt to discourage
a disabled person from renting or purchasing. Owners are res ponsible for the
damage their pets create.

An "Emotional Support Animal" does not have to be trained.

The animal simply must be needed by the individual to correct a disability and it
must be ordered by a licensed medical Doctor or psychiatrist who presumably is
prepared t o t estify in a legal proceeding to establish the remedial effect that the
anima l has upon the mental state of the patient. A partial list of the disabilities
that an emotional support animal could control are depression, anxiety, panic
attacks, mood disorders, bi-polar disorder, post-traumatic stress disorder and
other psychological conditions.
